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UNITED STATES DISTRICT coURT F"‘E° B"' 92 D-C-
FoR THE WESTERN DISTRICT 01= TENNESSEE _
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F‘\I.”_*T§'J! 'r
TERESA BYFORD BALLARD, CUWE!D(‘ %§ LYT§JHC§LRT

Individually and as the surviving
spouse and personal representative
of Timothy Ballard, deceased

Plaintiff,

V. DOCKET NO. 04-3025 MI V

INTERPLANE spol s.r.o. a foreign
corporation

INTERPLANE, LLC, a Florida

limited liability company, and

RALPH MANDARINO, Individually and
dfb/a, Interplane, LLC.

Defendants.

 

ORDER SETTING RULE 16(b) SCHEDULING CONFERENCE
AND ALLOWING PLAINTIFF ADDITIONAL TIME TO RESPOND
TO MOTION FOR SUMMARY JUDGMENT FILED BY RALPH MANDARINO

 

This cause came on to be heard upon the Motion of the Plaintiff for Additional Tirne to
respond to Defendant Ralph Mandarino’s Motion for Summary Judgrnent and Request for
Rulel6 Scheduling Conference and it appears to the Court that the Motion is well taken and
should be granted, and accordingly,

IT IS HEREBY OR_DERED as follows:

l. The parties hereto Will make initial disclosures under Rule 26(t) Within twenty

one days after August 5, 2005.

This document entered on the docks she tin compliance
with Hu|e 58 and/or 79(3) FHCP on z’/§;“H 2 1

 

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2. A Rule 16(b) Scheduling Conference Will be held before United States
Magistrate Judge Diane K. Vescovo on BLU'S, §zp')lg, 3005 at o?: 0 0 P.m.

Date ' Time

3. The parties Will notify the Court promptly alter August 5, 2005 if this matter has

been settled.

4. A deadline for Response of Plaintiff to Mandarino’s Motion for Summary

Judgment will be determined at the Rule 16(b) scheduling conference

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DIANE K. VESCOVO, UNITED STATES
MAGISTRATE JUDGE

Date: {/,g_?,a,@,{` /6')2905

K:\M BN\Cases\B\Ballard\pleadings\Order Sched Conf Add Time to Respond.doc

 

0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-03025 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

